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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,

              Plaintiffs,

      v.                                            Civil Action No. 1:25-cv-352 (CJN)

DONALD TRUMP, et al.,

              Defendants.


                                             ORDER

       For the reasons discussed at the February 13, 2025 preliminary injunction hearing, the

existing temporary restraining order in this case, ECF No. 15, is modified in the following two

respects:

       1. The TRO is extended by one week, and shall expire on Friday, February 21, 2025 at

11:59 PM.

       2. The TRO’s statement that “[n]o USAID employees shall be evacuated from their host

countries” while the TRO is in place is amended to state that “[n]o USAID employees shall be

involuntarily evacuated from their host countries” while the TRO is in place.

       SO ORDERED.




DATE: February 13, 2025                                     ________________________
                                                            CARL J. NICHOLS
                                                            United States District Judge
